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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NORTHERN FLORIDA
Case number:
Julian Rodney Rooks Jr.
Adversary Proceeding number:
Debtor,
Julian Rodney Rooks Jr.
Plaintiff, pro se
JURY TRIAL DEMANDED
VS.

Equinox Capital, licensed by the United
States Small Business Administration,
Equinox Capital Partners LLC,

Equinox, ef al,

Prairie Capital,

R3 Education Inc., a Florida Corporation,
R3 Education, a Massachusetts

Corporation, Steven Rodger, CEO,

St. Matthews University, Inc., a Florida
Corporation, St. Matthew's University
(Cayman) Ltd., Corp., a Florida Corporation
St. Matthew's University

School of Medicine LLC, a Florida
Corporation, St. Matthews University

Ltd., a Florida Corporation,

St. Matthews University School of
Medicine et al., St. Matthews University ef al.,
Jerry Thornton Ph D, St. Matthews
University, Vice President,

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Renae Sersland M.D., St. Matthews
University, Vice President of University
Services, Jeffrey Sersland M.D., President
and CEO, St. Matthews University,
Roger Crawford Courtney Esq., Special
Council to St. Matthews University,
Member of the Bar of the
Commonwealth of Virginia and of
other states,

Global Education Resources, LTD., a
Virginia Corporation,

Global Health and Education I Law and
Policy, LLC, a Virginia Corporation,
Global Health and Education Inc., a
Virginia Corporation,

Frank O. Appantaku M.D.., an Illinois
Physician and SMU Clinical Preceptor,
Advocate Health Care, an Illinois
Corporation,

Michael Harris M.D., a Florida
Physician,

Galen Paul Swartzendruber, M.D., a
Florida Physician,

Gary McCutchen, Ed. D. St. Matthews
University Chancellor,

Gloria Miranda Avila, St. Matthews
University Registrar,

Nancy Adamson, St. Matthews
University Registrar,

Darlene Kathryn Burke, St. Matthews
University, a Florida Certified Public
Accountant

Jennifer Applequist, St. Matthews
University Registrar,

Janice M. Cresos?, St. Matthews
University Registrar,

The State of Florida, Department

of State, Secretary of

State Ken Detzner

The State of Florida, Department

of Education, Comissioner Pam
Stewart,

Student Finance Corporation

United States doing business as

U.S. Department of Education,

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United States doing business as

Sallie Mae,

United States doing business as
Navient,

United States doing business as

Wells Fargo ELT SLFA-WA, Inc.,
United States doing business as
Finance Authority of Maine,

United States doing business as
Deutsch Bank ELT SLM Trusts,
United States doing business as

USA Funds,

United States doing business as

JP Morgan Chase, NA,

United States doing business as
Account Control Technology, Inc.
Sallie Mae, Inc., a Florida Corporation,
Sallie Mae Bank

Sallie Mae, dba Navient Solutions Inc.
Kurt Felder, a Sallie Mae Investigator
Key Bank

Key Education Resources

General Revenue Corporation,
Finance Authority of Maine,

St Joseph's College of Maine,
National Enterprise Systems,

United Student Aid Funds, Inc.,

USA Funds Inc.,

USA Group Loan Services,

Allied Interstate LLC,

GC Services Limited Partnership,
Windham Professionals,

Pioneer Credit Recovery, Inc.,
Progressive Financial Services,
Primary Financial Services,

Sunrise Credit Services, Inc.,
Financial Asset Management Systems Inc.,
Rapid Recovery,

Oxford Law, LLC

and other John/Jane Doe's,

Defendants,

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MOTION TO WAIVE CHAPTER 7 FILING FEE
Plaintiff respectfully request the Court to waive the filing fee.

Respectfully submitted,

DATED: | [22/201 ( PHAINTIFF,

   
    

Julian Rodfiey Rooks’J
3648 Dartford Lane

Tallahassee, Florida 32811
(850) 329-7019

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